       Case 2:19-cr-00113-SM-MBN Document 49 Filed 12/22/20 Page 1 of 2




                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                    CRIMINAL DOCKET

VERSUS                                                      NO.     19-113

MARTHA BUEZO MARTINEZ                                       SEC. “E”



                UNOPPOSED MOTION TO RESET SENTENCING DATE


       Now into Court, through undersigned counsel, comes the defendant Martha Buezo

Martinez, who respectfully requests a resetting of the presently scheduled sentencing date from

January 7, 2021 at 2:00 p.m. for the following reasons to wit:

                                             I.

       Counsel for Ms. Martinez requests additional time to allow for Ms. Martinez to continue

to make restitution payments prior to sentencing and requests that the sentencing in this matter be

continued to allow for an in-person hearing for this Honorable Court when conditions improve due

to the pandemic.

                                             II.

       Assistant United States Attorney Duane Evans, who is handling this matter has been

contacted and has no objection to this request.
       Case 2:19-cr-00113-SM-MBN Document 49 Filed 12/22/20 Page 2 of 2




       WHEREFORE, for the above reasons, it is respectfully requested that the sentencing of

Ms. Martinez presently set for January 7, 2021, be reset.



                                             Respectfully submitted,



                                             /s/ BRIAN J. CAPITELLI
                                             BRIAN J. CAPITELLI, La Bar No. 23798
                                             Capitelli & Wicker
                                             1100 Poydras St., Suite 2950
                                             New Orleans, La 70163
                                             Phone: (504) 582-2425
                                             Fax: (504) 582-2422
                                             brian@capitelliandwicker.com
                                             Counsel for Martha Buezo Martinez


                                CERTIFICATE OF SERVICE

                I hereby certify that on 22nd day of December, 2020. I electronically filed the
foregoing with the Clerk of Court by using the CM/ECF system which will send a notice of
electronic filing to the following: Assistant United States Attorney and United States Probation
Officer.


                                     /S/BRIAN J. CAPITELLI
                                     BRIAN J. CAPITELLI
